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 Fill in this information to identify your case:

 Debtor 1                  Jacob C. McNary
                           First Name                       Middle Name              Last Name

 Debtor 2                  Danielle L. McNary
 (Spouse if, filing)       First Name                       Middle Name              Last Name


 United States Bankruptcy Court for the:              SOUTHERN DISTRICT OF OHIO

 Case number
 (if known)                                                                                                              Check if this is an
                                                                                                                         amended filing



Official Form 108
Statement of Intention for Individuals Filing Under Chapter 7                                                                            12/15


If you are an individual filing under chapter 7, you must fill out this form if:
    creditors have claims secured by your property, or
  you have leased personal property and the lease has not expired.
You must file this form with the court within 30 days after you file your bankruptcy petition or by the date set for the meeting of creditors,
        whichever is earlier, unless the court extends the time for cause. You must also send copies to the creditors and lessors you list
        on the form

If two married people are filing together in a joint case, both are equally responsible for supplying correct information. Both debtors must
         sign and date the form.

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
        write your name and case number (if known).

 Part 1:        List Your Creditors Who Have Secured Claims

1. For any creditors that you listed in Part 1 of Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D), fill in the
   information below.
    Identify the creditor and the property that is collateral  What do you intend to do with the property that    Did you claim the property
                                                               secures a debt?                                    as exempt on Schedule C?



    Creditor's         Best Buy Credit Services                             Surrender the property.                     No
    name:                                                                   Retain the property and redeem it.
                                                                            Retain the property and enter into a        Yes
    Description of        Computer from Best Buy                            Reaffirmation Agreement.
    property                                                                Retain the property and [explain]:
    securing debt:



    Creditor's         Mr. Cooper                                           Surrender the property.                     No
    name:                                                                   Retain the property and redeem it.
                                                                            Retain the property and enter into a        Yes
    Description of 4731 Cullen Ave Springfield, OH                          Reaffirmation Agreement.
    property       45503 Clark County                                       Retain the property and [explain]:
    securing debt: Auditor's Value = $89,690



    Creditor's         Wright Patt Credit Union                             Surrender the property.                     No
    name:                                                                   Retain the property and redeem it.
                                                                            Retain the property and enter into a        Yes
    Description of        2016 Chevrolet Equinox 23,000                     Reaffirmation Agreement.
                          miles


Official Form 108                                       Statement of Intention for Individuals Filing Under Chapter 7                          page 1

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 Debtor 1      Jacob C. McNary
 Debtor 2      Danielle L. McNary                                                                     Case number (if known)


    property            Edmunds Clean PPV = $14,589                         Retain the property and [explain]:
    securing debt:

 Part 2:   List Your Unexpired Personal Property Leases
For any unexpired personal property lease that you listed in Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G), fill
in the information below. Do not list real estate leases. Unexpired leases are leases that are still in effect; the lease period has not yet ended.
You may assume an unexpired personal property lease if the trustee does not assume it. 11 U.S.C. § 365(p)(2).

 Describe your unexpired personal property leases                                                                              Will the lease be assumed?

 Lessor's name:               Hyundai Motor Finance Co.                                                                           No

                                                                                                                                  Yes

 Description of leased        2018 Hyundai Tucson - $377.78/mo
 Property:                    6/2018 - 6/2021




Official Form 108                                       Statement of Intention for Individuals Filing Under Chapter 7                                      page 2

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 Debtor 1      Jacob C. McNary
 Debtor 2      Danielle L. McNary                                                                    Case number (if known)




 Part 3:      Sign Below

Under penalty of perjury, I declare that I have indicated my intention about any property of my estate that secures a debt and any personal
property that is subject to an unexpired lease.

 X     /s/ Jacob C. McNary                                                          X /s/ Danielle L. McNary
       Jacob C. McNary                                                                 Danielle L. McNary
       Signature of Debtor 1                                                           Signature of Debtor 2

       Date        November 19, 2018                                                Date    November 19, 2018




Official Form 108                                       Statement of Intention for Individuals Filing Under Chapter 7                         page 3

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                               CERTIFICATE OF SERVICE

I certify that on November 20, 2018, a copy of:

            CHAPTER 7 INDIVIDUAL DEBTOR’S STATEMENT OF INTENTION

was served electronically through the Court’s ECF System on all ECF
participants registered in this case at the email address registered
with the Court,

and on the following by ORDINARY FIRST CLASS MAIL addressed to:



     JACOB C MCNARY
     3308 VINEYARD ST
     SPRINGFIELD OH 45503



     DANIELLE L MCNARY
     4731 CULLEN AVE
     SPRINGFIELD OH 45503



     BEST BUY CREDIT SERVICES
     PO BOX 790441
     SAINT LOUIS MO 63179



     MR. COOPER
     8950 CYPRESS WATERS BLVD
     COPPELL TX 75019



     WRIGHT PATT CU
     3560 PENTAGON BLVD
     BEAVERCREEK OH 45431



     HYUNDAI MOTOR FINANCE CO.
     PO BOX 20829
     FOUNTAIN VALLEY CA 92728
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                                  /s/ David M. Hollingsworth
                                  David M. Hollingsworth #0011343
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                                  Enon OH 45323
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